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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA
-------------------------------------------------------------------X
                                                                       :
  IN RE:                                                               : CASE NO.: 20-14119-pmm
                                                                       : CHAPTER: 13
  Wendell N. Calloway,                                                 :
                                                                       :
  Debtor.                                                              : HON. JUDGE.: Patricia M. Mayer
                                                                       :
                                                                       :
                                                                       :
                                                                       :
                                                                       :
                                                                       :
-------------------------------------------------------------------X


                                      CERTIFICATE OF SERVICE

        On May 1, 2024, I caused to be served a true copy of the annexed NOTICE
 OF POST-PETITION MORTGAGE FEES, EXPENSES, AND CHARGES by
 mailing the same by First Class Mail in a sealed envelope, with postage
 prepaid thereon, in a post office or official depository of the U.S. Postal
 Service, addressed to the last known address of the addressee, and the property
 address as indicated on the attached Service List annexed hereto.


                                                             By: /s/ Lauren M. Moyer
                                                             FRIEDMAN VARTOLO LLP
                                                             1325 Franklin Avenue, Ste. 160
                                                             Garden City, New York 11530
                                                             T: (212) 471-5100
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                                        SERVICE LIST

Wendell N. Calloway
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Debtor

Cibik & Cataldo, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
Debtor`s Attorney

Kenneth E. West
Chapter 13 Trustee
1234 Market Street- Suite 1813,
Philadelphia, PA 19107
Trustee

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
900 Market St, Suite 320
Philadelphia, PA 19107
U.S. Trustee
